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                      EXHIBIT 90
             FILED UNDER SEAL
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   Government of the United States Virgin Islands

                                       v.

              JPMorgan Chase Bank, N.A.;

              JPMorgan Chase Bank, N.A.

                                       v.

                   James Edward Staley




               Expert Report of Carlyn Irwin



                        Carlyn Irwin
                       Senior Advisor
                    Cornerstone Research


                              June 23, 2023



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incomplete and contains information that is contradicted by Southern Trust’s 2015 reporting
package. For example:
             a. The spreadsheet indicates that Southern Trust had “Gross Sales” of only
                           , compared to                                        reported on the tax return.152
             b. The spreadsheet indicates that Southern Trust paid                                                ,
                  compared to $4.2 million of reported taxes paid in the reporting package.153
58.      In 2016–2018, Southern Trust continued to receive benefits from the EDC program, but
at much lower levels due to a significant decline in Southern Trust’s revenues and profitability.
See Exhibit 1.


III.     Summary of Findings and Opinions with Respect to USVI Tax Benefits

59.      Between 1999 and 2018, USVI’s EDC awarded Financial Trust and Southern Trust more
than $300 million in tax benefits. For those years in which Mr. Epstein’s companies reported
positive ordinary business income, the cost / benefit ratio of tax benefits to Financial Trust and
Southern Trust was far lower than EDC’s target ratio, as discussed further below:154




152 VI-JPM-000037452, tab Employment & Taxes; VI-JPM-000007474–533 at 477.
153 VI-JPM-000037452, tab Employment & Taxes; VI-JPM-000007474–533 at 474.
154 Cost / benefit ratios are only shown for years in which Financial Trust or Southern Trust reported positive ordinary

business income                                     . In 2016–2018, Southern Trust continued to receive benefits from
the EDC program, but at much lower levels due to a significant decline in Southern Trust’s revenues and profitability.
In addition, I noted that the 2015 cost / benefit spreadsheet is incomplete and contains information that is
contradicted by Southern Trust’s 2015 reporting package. In the September 7, 1999 Executive Session, Mr. Francois
Dominique, a Special Assistant in the IDC, stated that
                    See VI-JPM-000018885–917 at 885, 889. Governor Albert Bryan stated in his June 6, 2023
deposition that a good return on investment from that tax benefits [USVI was] given” was “[d]efinitely at least one and
a half, two, would be good.” See Deposition of Governor Albert Bryan, Jr., June 6, 2013 (“Bryan Deposition”), 47:9–
20. I present the lower of the target cost / benefit ratios for purposes of this table. Actual cost / benefit ratios for
Financial Trust and Southern Trust as listed in the Benefits tab of EDC's cost-benefit analysis spreadsheets. See VI-
JPM-000032792; VI-JPM-000032774; VI-JPM-000032775; VI-JPM-000032776; VI-JPM-000032777; VI-JPM-
000032778; VI-JPM-000032779; VI-JPM-000032780; VI-JPM-000093347; VI-JPM-000037451; VI-JPM-000037452;
VI-JPM-000020120; VI-JPM-000020331; VI-JPM-000093348.



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every             of tax breaks that was to be given to Financial Trust (and Mr. Epstein as he was the
sole owner of this pass-through company), USVI expected to receive                                of economic benefits
in the form of increased local employment, local tax receipts, and local investment.
62.       However, Financial Trust’s actual cost / benefit was significantly below the IDC’s
projections and its so-called “                              ” of        to        .157 As reflected in Financial
Trust’s annual reporting packages and the available EDC cost / benefit spreadsheets produced in
discovery, Financial Trust’s actual cost / benefit ratios in 1999–2001 were:
                 a. 1999 ratio =      to          ;158
                 b. 2000 ratio =      to          ;159 and
                 c. 2001 ratio =      to          .160
63.       Each of these ratios calculated by the EDC were well below: (i) the forecasted ratio of
to             that was
                 and (ii) the “             ” ratio of         to                                          .
64.       Southern Trust’s actual cost / benefit was similarly also significantly below the EDC’s
projections and its so-called “                              ” of        to        . For example, per the EDC’s cost /
benefit calculations produced in discovery, the actual cost / benefit in 2014 was only                         to
        .161
65.       This ratio was well below: (i) the projected ratio that the EDC discussed when it decided
to approve Southern Trust’s award; (ii) the                         to         “            ” level discussed by the
EDC in 1999;162 and (iii) the                to          “                    ” level discussed by the EDC in 2013.163
66.       Thus, from 1999 to 2018, neither Financial Trust nor Southern Trust came close to
generating sufficient benefits to USVI to offset the tax incentives granted to Mr. Epstein and
these companies let alone reach the thresholds the EDC considered “                                  .” Based on the
record, the EDC was aware of Mr. Epstein’s companies’ multi-year history of poor cost / benefit
performance yet agreed to extend Financial Trust’s certificate in 2009 and granted Southern
Trust a new certificate in 2013 regardless.



157 VI-JPM-000018885–917 at 889.
158 VI-JPM-000032792, tab Benefits.
159 VI-JPM-000032774, tab Benefits.
160 VI-JPM-000032775, tab Benefits.
161 VI-JPM-000037451, tab Benefits.
162 VI-JPM-000018885–917 at 889.
163 VI-JPM-000018918–926 at 920.




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        C.       USVI Failed to Ask Questions or Develop an Appropriate Basis to Support
                 Extending the $300 Million in Benefits

67.     USVI’s EDC did not properly evaluate Mr. Epstein’s applications for benefits and failed
to ask him even the most basic questions based on information that was uniquely available to it
about his companies.
68.     In awarding hundreds of millions of dollars in benefits to Mr. Epstein, USVI failed to
perform even perfunctory examination of information that was uniquely available to it and
ignored its own calculations that Mr. Epstein’s companies were not conferring the promised
economic benefits on USVI. In 2009 and 2013, the awards to Mr. Epstein were ultimately
approved by Governor de Jongh. He approved these benefits while his wife, First Lady Cecile
de Jongh, was the office manager for Mr. Epstein’s companies and received a salary, bonuses,
and other benefits, including tuition for their children, from Mr. Epstein.164 Based on my review
of the record, I have not seen any evidence that USVI or the EDC employed any procedure to
manage or investigate the real and/or perceived conflict of interest by Governor de Jongh’s
approval of tax benefits that directly benefitted his family.165 Governor de Jongh testified that no
such measures were put in place.166
69.     Moreover, based on my review of the record, it does not appear that the


                                        . In 1999, when testifying in front of the EDC on behalf of
Financial Trust Company, Mr. Epstein made exaggerated statements, including that
                                                                                                .”167 He also
testified “                                     ”168 but also stated he would “
                              ”169 The EDC did not ask                                                   , nor




164 Government of the United States Virgin Islands v. JPMorgan Chase Bank, N.A, Case 1:22-cv-10904-JSR,

JPMorgan Chase Bank, N.A.’s Opposition to USVI’s Motion to Strike Affirmative Defenses, May 23, 2023 (“JPMC
Opposition to Motion to Strike”), Exhibit 23, ESTATE_JPM024371; JPMC Opposition to Motion to Strike, Exhibit 25,
ESTATE_JPM024548; JPMC Opposition to Motion to Strike, Exhibit 26, ESTATE_JPM024549; Deposition of
Governor John de Jongh, May 30, 2023 (“John de Jongh Deposition”), 136:19–138:22; Cecile de Jongh Deposition,
10:20–22; 76:3–78:12.
165 Bryan Deposition, 133:23–134:2.
166 John de Jongh Deposition, 162:19–164:1.
167 VI-JPM-000016248–270 at 253.
168 VI-JPM-000016248–270 at 264.
169 VI-JPM-000016248–270 at 256.




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                                                                                             . In addition,
when Financial Trust applied for a renewal of EDC benefits for Financial Trust in February
2009,
                   .170 Based on my review of the record, the EDC did not ask


                                                                .171 Moreover, the EDC did not ask
                                 . Again, based on my review of the record, I am not aware if
                                                                        .
70.     USVI also did not conduct checks on Financial Trust during the renewal period. A
January 2009 EDC due diligence report states that




          . Yet, I am not aware of anything in the record that indicates the EDC                           . In
July 2011, a researcher with the Daily Beast confirmed that Financial Trust was never registered
with any of those entities.172
71.     Nor does the record reflect that the EDC did anything to review—or even acknowledge—
Mr. Epstein’s criminal history during their granting of benefits to him despite it being laid out
and included in his application. In fact, the Chairman of the EDC from 2007 to 2014, current
USVI Governor Albert Bryan, Jr., testified he was not aware of news in 2011 that Mr. Epstein
had settled more than two dozen lawsuits and claims against him by teenagers who say they gave
him sexually charged massages and/or sex in exchange for money despite the fact that this
information was publicly available at the time the EDC was voting to renew tax benefits for
Financial Trust.173 Mr. Bryan testified that the EDC was generally less concerned about the
ethics and integrity of the owner of a business receiving EDC benefits if the business was up for
renewal, as Financial Trust was after Mr. Epstein’s arrest, because the EDC had a track record of




170 VI-JPM-000016200–205 at 202; Associated Press, “A Timeline of the Jeffrey Epstein, Ghislaine Maxwell Scandal,”

U.S. News & World Report, June 28, 2022, available at https://www.usnews.com/news/politics/articles/2022-06-28/a-
timeline-of-the-jeffrey-epstein-ghislaine-maxwell-scandal.
171 VI-JPM-000016200–205 at 202.
172 VI-JPM-000033049–063 at 051. Note that the NFA administers registration and examination of intermediaries on

behalf of the CFTC. See “Be Smart: Check Registration & Backgrounds Before You Trade,” CFTC,
https://www.cftc.gov/check.
173 Bryan Deposition, June 6, 2013, 74:7–25; 75:1–13.




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relation to economic development benefits brought to USVI.228 Again, the EDC considered a
cost / benefit ratio of    to      to be “                          .”229
90.     Based on my review of the record, the EDC was aware that the cost-benefit ratios for
Financial Trust                                                      . In 1999, for               of tax breaks
that USVI gave to Financial Trust, USVI received only                       in economic benefits.230 In 2000, for
every     of cost (tax breaks given away to Financial Trust), USVI received only
         (taxes received, local employment, and local purchases).231 In 2001, for every                  of cost
(tax breaks given away to Financial Trust), USVI received only                         of benefits.232 The EDC
Board recognized


              ”233
91.     Moreover, granting EDC benefits to Southern Trust also failed to meaningfully spur
investment and growth in USVI. For example, in 2014, Southern Trust’s award resulted in an
actual cost / benefit ratio of        of cost for every            in benefits.234 .
92.     The EDC’s grant of tax benefits to Mr. Epstein’s USVI-based companies was contrary to
its mission and conferred only paltry benefits to the residents of USVI. The lack of economic
sense raises the obvious question of why these benefits continued to be granted to Mr. Epstein’s
companies over a twenty-year period.
93.     I have reviewed the Motion to Strike Opposition filed by JPMC in this case and the
supporting exhibits. That filing lays out facts suggesting an improper quid-pro-quo relationship
between Mr. Epstein and certain high-placed USVI officials with influence over the benefits.
For example, First Lady de Jongh received a salary, bonuses, and tuition payments for her
children from Financial Trust and Southern Trust.235 Her husband, the Governor, signed off on




228 United States Virgin Islands Economic Development Authority, FY2012 Annual Report, p. 13.
229 VI-JPM-000018885–917 at 889
230 VI-JPM-000032792, tab Benefits.
231 VI-JPM-000032774, tab Benefits.
232 VI-JPM-000032775, tab Benefits.
233 VI-JPM-000018918–926 at 920.
234 VI-JPM-000037451, tabs Employment & Taxes, Procurement, and Benefits.
235 JPMC Opposition to Motion to Strike, Exhibit 23, ESTATE_JPM024371; JPMC Opposition to Motion to Strike,

Exhibit 25, ESTATE_JPM024548; JPMC Opposition to Motion to Strike, Exhibit 26, ESTATE_JPM024549; John de
Jongh Deposition, 136:19–138:22; Cecile de Jongh Deposition, 10:20–22; 76:3–78:12.



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                                                                     . Without such a benchmark, Mr.
Amador’s “analysis” lacks context and his opinion is unsupported and speculative.
101.    Second, Mr. Amador has not presented any analysis of any
                                                                               He merely points to the fact
that                                                                                              . Mr.
Amador does not explain why this fact supports his opinion that
               , rendering his opinion baseless and speculative.
102.    Third, there are potential legitimate reasons why it is not unusual to have separate entities
hold title to different aircraft. For example, for liability purposes, it is best practice (and
financial institutions and/or insurance companies often recommend) that ownership of significant
assets be owned by separate legal entities. This is done not only to protect the value of one
aircraft should liabilities be generated from another aircraft, but also to maintain corporate
formalities.
103.    Mr. Amador has failed to present any analysis to support his opinions. He has also failed
to consider the nature and scope of Mr. Epstein’s businesses and asset holdings.




Executed on this 23rd day of June 2023




                                                            ___________________________________
                                                                        Carlyn Irwin




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Exhibit 1
Analysis of Economic Development Commission Credits

                                                                            Financial Trust Company, Inc. (1999–2012)

                                  1999   2000       2001   2002   2003     2004           2005            2006      2007   2008   2009   2010   2011   2012   Subtotal
Taxes and Duties Paid
   Gross Receipts
   Real Property Tax
   Excise Taxes
   Income Taxes
   Customs Duties
   Other Taxes
      Total Taxes Paid

Value of Tax Exemptions
   Gross Receipts
   Real Property Tax
   Excise Taxes
   Income Taxes
   Customs Duties
      Total Value of Exemptions

Federal Tax Return (Form 1120S)
   Net Sales
   Ordinary Business Income




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Exhibit 1
Analysis of Economic Development Commission Credits

                                                            Southern Trust Company, Inc. (2013–2018)

                                     2013          2014          2015          2016          2017          2018         Subtotal            Total
Taxes and Duties Paid
   Gross Receipts
   Real Property Tax
   Excise Taxes
   Income Taxes
   Customs Duties
   Other Taxes
      Total Taxes Paid

Value of Tax Exemptions
   Gross Receipts
   Real Property Tax
   Excise Taxes
   Income Taxes
   Customs Duties
      Total Value of Exemptions

Federal Tax Return (Form 1120S)
   Net Sales
   Ordinary Business Income

Source: VI-JPM-000012940; VI-JPM-000012922; VI-JPM-000012885; VI-JPM-000012850; VI-JPM-000012816; VI-JPM-000012743; VI-JPM-000012722; VI-JPM-000012689;
        VI-JPM-000012630; VI-JPM-000013335; VI-JPM-000013219; VI-JPM-000013122; VI-JPM-000013087; VI-JPM-000012996; VI-JPM-000007315; VI-JPM-000007407;
        VI-JPM-000007474; VI-JPM-000007534; VI-JPM-000007588; VI-JPM-000007663




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